                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                             DOCKET NO. 3:01-cr-104-5-FDW


 UNITED STATES OF AMERICA,                      )
                                                )
                  v                             )
                                                )
 JOSE OSEGUERA RODRIQUEZ                        )                     ORDER
                                                )
                                                )
                Defendant.                      )


       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 230) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2). Defendant’s motion is DENIED.

As stated in Document #228 and 229, the defendant is not eligible for a sentence reduction. The

controlled substance related to this offense was cocaine powder not crack cocaine. This defendant

is not eligible for a reduction pursuant to Amendment 706.

       IT IS SO ORDERED.

                                               Signed: July 8, 2010




      Case 3:01-cr-00104-FDW          Document 232        Filed 07/08/10     Page 1 of 1
